      Case 1:19-cr-20387-UU Document 14 Entered on FLSD Docket 09/11/2019 Page 1 of 1

                                         M IN UTE O RD ER                                                Page 6

                                 M agistrate Judge Edw in G .Torres
                   KingBuildingCourtroom 10-5                          Date:9/10/2019 Time:2:00p.m.
Defendant: ALAN FRANclsco w HEELOCK J#:(B)D/Nv             case#: 19-20387-CR-UNGARO
AUSA:Tom W atts-Fitzgerald                          Attorney: Annabelle NahraforJeffrey W einer
Violation:SHIP/PROTECTIVEWILDLIFE/INTERSTATE             Surr/ArrestDate:        YOB:
           COMMERCE/FALSELABELING OFWILDLIFE
Proceeding: InitialAppearance                               CJA Appt:
Bond/PTD Held:C Yes C No               Recom mended
BOnd Set        o wn Recognizance                               co signed by:
                                                                  -




 I-
  F-Isurrenderand/ordonotobtainpassports/traveldocs                   Language:ENGLISH
 np- SeporttoPTsasdirectedlor                  x'saweek/monthby Disposition:
       phone:         xzsaweek/monthinperson                          counselhasfiled Permanent
      Rundom urine testing by Pretrial
 NF services                                                          AppearanceonCF/ECF.
       Treatm entasdeem ed necessdry                                  The Courtadoptsthe bohd and
 NF   Refruinfrom excessiveuseofalcohols.                             conditionssetinNevada.
 Nr   participateinmentalhealthassessment&treatment
 Nr   Maintainorseekfull-timeemployment/education                     **NOttousenarcoticsJn#nottobe
 Nr   Nocontactwithvictims/witnesses,exceptthroughcounsel             inthepresenceOT#eO#/eusing
 Nr   Nofirearms                                                      n'rcotks
 NC   Nottoencumberproper'ty
 Nr   Maynotvisittransportationestablishments                         DefendantArraigned
 Nr   HomeConfinement/ElectronicMonitoringand/or                            . o' 'n
       curfew            pmto            am,pai
                                              dby                        Not uujltypjea'
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                                                                                         llkvxvM
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       Allowances:M edicalneeds,courtappearances,attorney visits,        Standln: Dl.eavely ordertg qysxji,
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       religious,em ploym ent
 NF Travelextendedto:ContinentalU.S.                                   yjmefromtodayto                excluded
 NV Other:                                                             fromSpeedyTrialCIock           '
NEXT COURT APPEARANCE    oate:           Tim e:        Judge;                          Place;
Report RE Counsel:
PTD/BondHearing' .
Prelim/ArraignorRemoval:
Status Conference RE:
D.A.R.14:24. .25                                            Tim e in Court:2
                                  s/Edwin G.Torres                                   M agistrateJudge
